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   Timothy J. St. George
   Partner
   Richmond
   timothy.st.george@troutman.com
   804.697.1254




   Tim St. George defends institutions nationwide facing class actions and
   individual lawsuits. He has particular experience litigating consumer class
   actions, including industry-leading expertise in cases arising under the Fair
   Credit Reporting Act and its state law counterparts.
   Areas of Focus:
       Consumer Financial Services
       Financial Services Litigation
       Class Action
       Student Lending




Overview

Tim's practice includes the representation of clients in federal and state courts, at both the trial and appellate
levels. Tim focuses his practice in the areas of complex litigation and business disputes, financial services
litigation, and consumer litigation.
Tim is a nationally-recognized expert on issues relating to the Fair Credit Reporting Act and employment
background screening, as well as class action litigation. Tim currently teaches the basic and advanced
FCRA certification courses for the Professional Background Screening Association, which is the leading
trade association for background screening companies and employers conducting screening. Tim also
serves as outside general counsel for several background screening companies.
In 2018, Tim was one of only five attorneys nationwide to be designated as a Law360 Rising Star in the field
of consumer law, which identified attorneys whose legal accomplishments "transcend" their age. That same
year and again in 2019 and 2020, he was also identified by Benchmark Litigation as one of the top attorneys
under the age of 40 in the country.
Tim has written and spoken nationally on issues relating to complex litigation, background screening and
consumer protection. He has been quoted in publications such as the National Law Journal, The Business
Lawyer (American Bar Association), the Society for Human Resource Management; Law360, The Practical
Litigator (American Law Institute), and the Practical Law Journal. He has led national compliance and




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litigation seminars/webinars on class actions, the Fair Credit Reporting Act (FCRA), class action litigation,
and consumer protection.
Tim has experience in all phases of complex litigation, including serving as lead trial counsel in federal and
state courts, where he has secured both jury verdicts and defense judgments for his clients. He has
substantial class action experience, having served as counsel in connection with dozens of proposed class
cases. He has also been lead counsel in consumer arbitrations.
Tim has also served as counsel on successful appeals before the Supreme Court of Virginia, the U.S. Court
of Appeals for the Fourth Circuit and the U.S. Court of Appeals for the Ninth Circuit.
Tim previously served as a law clerk to the Hon. Robert E. Payne of the United States District Court for the
Eastern District of Virginia.
Tim is currently serving as President of the Richmond, Virginia Chapter of the Federal Bar Association.

Representative Matters

Consumer Litigation
•   Lead counsel for multiple data brokers and wholesalers of public record information in putative class
    actions in multiple states attempting to apply the FCRA to their business models, achieving denials of
    class certification and dismissal of actions.
•   Lead counsel for nation's largest provider of motor vehicle records in putative nationwide FCRA class
    actions challenging record accuracy.
•   Served as lead counsel for national tenant screening company in numerous putative class action
    lawsuits filed contemporaneously across the country implicating criminal and eviction history reporting,
    dispute practices, and file disclosure practices.
•   Served as lead counsel for a national tenant screening company in a proposed nationwide FCRA class
    claim challenging the reporting of race, which was dismissed on First Amendment grounds, and
    outdated criminal histories, on which class certification was defeated.
•   Represented a nationwide debt collector in claims under the Credit Repair Organizations Act (CROA).
    Secured dismissal of the action before the trial court and then served as lead appellate counsel before
    the Ninth Circuit, which unanimously affirmed the dismissal.
•   Obtained denial of class certification as lead counsel for a national background screening company in a
    significant class action asserting novel claims for liability under the FCRA with more than $1.7 billion in
    potential exposure.
•   Represented a national debt collection agency in an investigation by 41 state attorneys general into its
    collection practices, including coordinating the debt collector’s response to the associated subpoenas
    issued by the state participants.
•   Defeated a motion for class certification as lead counsel for a national debt collector with respect to a
    putative New York class action challenging litigation practices under the Fair Debt Collection Practices
    Act (FDCPA) and state consumer protection statutes.
•   Acted as counsel for a wholesale retailer of health care data in a FCRA putative class action asserting
    claims of first impression. Secured transfer of the case to a more favorable forum and subsequent
    denial of a request for class certification.
•   Represented a national debt collection firm in a 700-plaintiff "mass action" for claims of numerous
    violations of the FDCPA.



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•   Defended a national collections agency and its wholly owned subsidiaries against claims of FDCPA
    violation, civil conspiracy, violation of the Racketeer Influenced and Corrupt Organizations Act (RICO),
    and abuse of process.

Complex Litigation
•   Served as lead counsel for a nationwide producer of farm-related products with respect to an attempted
    injunction of a $180 million asset sale. Secured both dissolution of the injunction and successful
    consummation of the sale.
•   Lead counsel for Virginia municipality in $10 million breach of contract lawsuit against neighboring
    municipality challenging failure to pay required charges for shared sewer system services.
•   As specially retained appellate counsel to the commonwealth of Virginia concerning a challenge to a
    $2.1 billion public-private partnership infrastructure project, secured reversal of the trial court's
    constitutional ruling in the largest commercial case litigated against a Virginia state agency.
•   Represented a regional tobacco company in a declaratory judgment action implicating a sale on interest
    in $70 million of qualified settlement fund escrow accounts. Obtained a favorable verdict after a four-day
    bench trial, which the Fourth Circuit affirmed.
•   Served as lead trial counsel for a regional health care provider in a bench trial in a claim against a
    contractor for breach of contract and defamation. Obtained a six-figure verdict, including a contested
    award of all attorneys' fees incurred.
•   Represented a Fortune 1000 coal mining corporation in a shareholder class action challenging the
    terms of a proposed $8.5 billion merger. Obtained dismissal of the action with no payment to
    shareholders and with consummation of the merger.
•   Represented a national brokerage firm in a breach of contract/unjust enrichment claim concerning the
    sale of over $400 million in tax-exempt municipal assets. The case settled on highly favorable terms five
    days before trial after defeat of defendant's dispositive motions.
•   Served as counsel for a Fortune 1000 coal mining corporation in an action for breach of contract. The
    case was resolved after extensive discovery, resulting in millions of dollars of price concessions to the
    coal company.

Financial Services Litigation
•   Counsel for Fortune 100 federally-chartered bank in MDL proceeding aggregating more than 70 class
    actions arising out of prominent data breach.
•   Lead counsel for national trust of pool student loans in series of putative class actions challenging debt
    collection litigation.
•   Lead counsel for financial data broker in claims of conspiracy and misappropriate of trade secrets.
    Achieved denial of motion for temporary restraining order and dismissal of claims.
•   Serving as national counsel for a Fortune 200 banking institution in more than 200 cases with regard to
    numerous individual and class claims asserted under the Magnuson-Moss Warranty Act, the FTC
    Holder Rule, and various state consumer protection statutes in more than 30 states.
•   Obtained a directed verdict at trial as lead trial counsel for a national banking institution with respect to a
    claim for systematic mortgage fraud.
•   Served as counsel for a national banking institution in an action seeking enforcement of a $10 million
    letter of credit. Obtained a favorable settlement prior to trial, permitting enforcement of the note.




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•   Served as lead counsel for a national banking institution relative to claims of breach of fiduciary duty
    and breach of trust. Obtained a dismissal of all claims with prejudice at the motion-to-dismiss stage.

Related Practices and Industries

•   Consumer Financial Services
•   Financial Services Litigation
•   Class Action
•   Student Lending
•   Business Litigation
•   Consumer Law Compliance
•   Consumer Reporting Agencies and Background Screening
•   Fair Credit Reporting Act (FCRA)
•   Fair Debt Collection Practices Act (FDCPA)
•   Litigation
•   Mortgage Lending and Servicing
•   Telephone Consumer Protection Act (TCPA)

Speaking Engagements

•   Panelist, "Credit Reporting and COVID-19: Guidance for Consumer Financial Service Companies
    Reporting Consumer Credit During the Pandemic," myLawCLE Webinar (co-sponsored with Federal
    Bar Association), November 11, 2020.
•   Co-presenter, "Five Key Lessons for Defending FCRA Class Action Lawsuits," PBSA Annual
    Conference, September 14, 2020.
•   Co-presenter, "Background Checks: Required Disclosures, Notices Prior to Adverse Action, and
    More," ESR Webinar, June 25, 2020.
•   Co-presenter, "Background Screening Regulatory Developments: 2020 and Beyond," PBSA Webinar,
    April 20, 2020.
•   Speaker, "2019 in Review: Key Developments for Background Screeners and Companies Subject to
    the FCRA," Troutman Sanders Webinar, March 4, 2020.
•   Speaker, "Navigating the Maze: What to Know About Background Screening in New York State and
    New York City," National Association of Professional Background Screeners (NAPBS) Annual
    Conference, September 2019.
•   Speaker, "Changes in California Relating to the California Investigative Consumer Reporting Agencies
    Act (ICRAA) - What You Need to Know and How to Comply," Troutman Sanders Webinar, April 24,
    2019.
•   Speaker, "Consumer Financial Services Outlook 2019," Troutman Sanders Webinar, February 12,
    2019.
•   Panelist, "Litigation and Compliance in Background Screening: The Business Perspective," NAPBS
    Annual Conference, Baltimore, Maryland, October 8, 2018.



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•   Speaker, "Increasing Litigation Against Wholesalers: What It Means for the Industry as a Whole, How to
    Prepare and Defense Strategies," NAPBS 2018 Mid-Year Legislative & Regulatory Conference,
    Arlington, Virginia, April 15-17, 2018.
•   Presenter, "Defending FCRA Class Actions: A Practical Approach," Troutman Sanders Consumer
    Financial Services Webinar Series, Jan. 23, 2018.
•   Speaker, "FCRA Cutting-Edge Compliance Issues and Litigation Trends," National Association of
    Professional Background Screeners Annual Conference, Orlando, Florida, Sept. 20, 2017.
•   Panelist, "The CFPB's Rule on Arbitration and What It Might Mean for Your Company," Webinar Series,
    July 18, 2017.
•   Speaker, "Latest Developments in Consumer Credit Reports," Lorman Webinar, May 22, 2017.
•   Moderator, "Tips From the Bench for Better Legal Writing," with the Hon. M. Hannah Lauck of the U.S.
    District Court for the Eastern District of Virginia, June 28, 2015.
•   Moderator, "Advice for Young Lawyers," with the Hon. John A. Gibney of the U.S. District Court for the
    Eastern District of Virginia, April 24, 2013.

Publications

•   Co-author, "Class Action Defense Strategies in the Eastern District of Virginia's 'Rocket
    Docket'," Mealey's Litigation Report: Class Actions, August 21, 2020.
•   Co-author, "Civil Conspiracy: An Analysis of Common Law and Statutory Business Conspiracy Claims
    Under Virginia Law," Virginia Lawyer, August 2020.
•   Co-author, "10 Key FCRA Decisions and Why Companies Should Care About Them," Troutman
    Pepper, August 4, 2020.
•   Co-author, "2019 Consumer Financial Services Year in Review & a Look Ahead," Troutman Sanders,
    February 24, 2020.
•   Co-author, "2018 Consumer Financial Services Year in Review & a Look Ahead," Troutman Sanders,
    January 28, 2019.
•   Co-author, "A Small Step Toward 'Employee' Clarity for FCRA," Law360, January 8, 2019.
•   Co-author, "Recent Trends in Consumer Litigation," The Review of Banking & Financial Services, A
    Periodic Review of Special Legal Developments Affecting Lending and Other Financial Institutions,
    January 2019.
•   Co-author, "Clarity on Overlapping Background Check Laws in Calif.," Law360, August 22, 2018.
•   Co-author, "Federal Inaction and State Activity: Student Loan Edition," Law360, August 1, 2018.
•   Co-author, "Tussling Over Preemption: Emerging Battleground Between State Authorities and Student
    Loan Servicers," American Bar Association: Business Law Today, May 15, 2018.
•   Co-author, "Expert Analysis: A Potential Shift on Education Debt Discharge Standards," Law360, March
    9, 2018.
•   Co-author, "Annual Report: 2017 Consumer Financial Services Year in Review and a Look Ahead,"
    published by Troutman Sanders LLP, January 10, 2018.
•   Co-author, "A Practical Approach to Defending Fair Credit Reporting Act Class Actions in Federal
    Court," Business Law Today, August 2017.




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•   Co-author, "11th Circuit Strikes Back at Untimely 'Piggyback' Class Actions," Law360, August 10, 2015.
•   Author, "Opposing 'Apex' Depositions of Top Corporate Executives," Practical Law, March 2015.
•   Co-author, "New York Announces Sweeping New Regulation of the Debt Collection Industry," TerraLex,
    March 16, 2015.
•   Co-author, "Civil Conspiracy Between Parent Corporations and Wholly Owned Subsidiaries: a National
    Survey," Bloomberg BNA, June 20, 2014.
•   Co-author, "Business Litigation in Virginia: The Year in Review: 2011 and Early 2012," Virginia CLE,
    September 6, 2012.
•   Co-author, "Business Litigation in Virginia: The Year in Review: 2010 and Early 2011," Virginia CLE,
    September 15, 2011.
•   Co-author, "Common Law and Statutory Business Conspiracy – What They Are...Aren't," Virginia CLE,
    January 25, 2011.
•   Co-author, CLE Seminar Materials, "Sanctions in the United States Court of Appeals for the Fourth
    Circuit and the United States District Courts for the Eastern and Western Districts of Virginia," October
    2010.
•   Co-author, CLE Seminar Materials, "Procedural Issues in Civil Litigation in the Richmond Division of the
    Rocket Docket," September 29, 2010.
•   Co-author, "'Plausibility' Pleading After Twombly and Iqbal," American Bar Association (ABA) and the
    American Law Institute's (ALI) The Practical Litigator, July 2010.
•   Co-author, "Court Gives Guidance on Inadvertent Waivers," Virginia Lawyers Weekly, June 28, 2010.
•   Co-author, "Business Litigation in Virginia: The Year-in-Review: 2009 (and Early 2010)," Virginia CLE,
    May 20, 2010.

Media Commentary

•   Quoted, "FCRA's Seven-Year Reporting Window Begins with Charge, Not Dismissal," SHRM, June 12,
    2019.
•   Mentioned, "Lending Cos. Have Tribal Immunity From Suit, 4th Circ. Told," Law360, May 2, 2019.
•   Quoted, "From the Web: Evaluating the Potential Impact of the Government Shutdown on Federal
    Courts," ACA International, January 9, 2019.
•   Quoted, "Latest TCPA Decision Eases Path to Court for Consumers, Deepens Circuit Split," The
    National Law Journal, July 11, 2017.

Professional and Community Involvement

•   President, Richmond, Virginia Chapter, Federal Bar Association (2020-2021)
•   Board Member, Richmond, Virginia Chapter, Federal Bar Association (2013-present)
•   Appointed Member, United States District Court for the Eastern District of Virginia Magistrate Judge
    Selection Committee (2019, 2020)
•   Chair, Younger Lawyer's Division, Richmond, Virginia Chapter, Federal Bar Association (2013-2014)
•   Member, National Association of Professional Background Screeners (NAPBS) (2014-present)




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Rankings and Recognitions

•   40 & Under Hot List, Benchmark Litigation (2018, 2019, 2020)
•   Law360 Rising Star (National), Consumer Law, Law360 (2018)
•   Up & Coming Lawyers, Virginia Lawyers Weekly (2018)
•   Rising Star in Business Litigation (2012); Super Lawyer in Business Litigation (2013-2020), Law &
    Politics' Virginia Super Lawyers

Bar Admissions

•   Virginia
•   District of Columbia

Court Admissions

•   U.S. Court of Appeals, Second Circuit
•   U.S. Court of Appeals, Fourth Circuit
•   U.S. Court of Appeals, Ninth Circuit
•   U.S. District Court, Eastern District of Virginia
•   U.S. District Court, Western District of Virginia
•   U.S. District Court, District of Columbia
•   U.S. Bankruptcy Court, Eastern District of Virginia
•   U.S. Bankruptcy Court, Western District of Virginia

Education

•   University of Virginia School of Law, J.D., Order of the Coif, 2008, The Society of the Cincinnati Scholar;
    Semi-Finalist, William Minor Lile Moot Court Competition
•   University of Virginia, B.A., with honors; Phi Beta Kappa; Echols Scholar , 2005

Clerkships

•   Hon. Robert E. Payne, U.S. District Court for the Eastern District of Virginia, 2008 - 2009




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